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11
                                   UNITED STATES DISTRICT COURT
12                                WESTERN DISTRICT OF WASHINGTON
                                            AT TACOMA
13
      UNITED STATES OF AMERICA,
14
                      Plaintiff/Respondent,                         NO. CR95-5851JET
15
              v.                                                   ORDER
16
      JOSE RUIZ, aka JOSE RODRIGUEZ
17    FLORES,
18                    Defendant/Petitioner.
19

20                  THIS MATTER comes on before the above-entitled Court upon Defendant’s Motion
21   for Abeyance of Writ of Error Audita Querela.
22           Having considered the entirety of the records and file herein, it is hereby
23           ORDERED that decision on Defendant’s motion is stayed until August 1, 2005.
24           The clerk of the court is instructed to send uncertified copies of this Order to all
25

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 1   counsel of record.

 2                 DATED this 3rd day of June, 2005.

 3
                                       /s JACK E. TANNER
 4                                     ______________________________________
                                       JACK E. TANNER
 5                                     SR. UNITED STATES DISTRICT JUDGE

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